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i t Pageiof4 i Dy
‘Quantum Pasee Syntax, /PEACE-FLAG SUNITED-STATES FOUR-CORNER-RULE 18 '
C35 -C-P-.S-G-FLAG 49 CLAIM ‘By: Claimant :POSTAL-COURT-OF-THE-ONE- . Jt c
8AM BY GANA NITED STATES BANKRUPTCY COURT AER CORRECT EARSE-GRAMMAR 2
DISTRICT OF NEW JERSEY

Caption in Compfiance with D.N.J. LBR 9004-1(b)

:-Angel-David: Delgado.
:Post-Office-Box-~664, -
:Hainesport,-New-Jersey-Territory
-ZIP-EXEMPT;-NON-DOMESTIC -U._S.A.

{E-MAIL: Angeidel4 7 @yahoo.com Ke ze
. 2 J #8
In Re: “ANGEL-DAVID-DELGADO.-CLAiMANT. *C8@-No --24-42490.| > =
“Judge: CHRISTINE-GARVELLE,
‘Chapter:-~13.

‘APPLICATION FOR REFUND OF FILING FEE.

On-APRIL-~19,-~2024 with, the undersigntidl filedba With the CLAIMAPILICATION with the ~ard-CIRCUIT-ARTICLE-II-COURT

the ANGEL-DAVID-DELGADO,-
on-behalf-of NOM-DE-GUERRE-NAME-ENTITY: CLAM: A-feo- conceming-the-filing oor Hale We fi amount.of the

307.00 with the MONEY-ORDER: CLAIM, -Erequest that the court issue #-refimnd of the fiting-fee-for the reason set—

forth-below: CLAIM.

~~~Applicant-must-describe-in detail-the-circumstances-surrounding the-error:
~~For this CLAMIANT’S-KNOWLEOGE with the MATTER-OF-MY-PAYMENT with the AMOUNT of the
$307.00 IS with the [AP]PEAL (sic)[AP}PLICATION(sic) with the -~3rd-CIRCUIT-ARTICLE-Ill-COURT:

CLAIM.

-~For this CLAIMANT’S-KNOWLEDGE with this MATTER-OF-MY-PAYMENTS with the AMOUNT of the
$298.00 IS with the TOTALING of the $605.00 as the FILING-FEE with the -~3rd-CIRCUIT-COURT of the
[AP]PEALS(sic)}-WHICH-THIS-COURT-APPLIES-INSTEAD-with their DISTRICT-COURTS-AND with the
RETURN of the $-~307.00 with the ALTERING/USING/SOLD of this NEGOTIABLE-INSTRUMENT with the

CAUSE-of the RENDERING-THE-MONEY-ORDER-USELESS: CLAIM.
~~For this BANKRUPTCY-COURT with its ALTERING/USING/SOLD of this NEGOTIABLE-INTRUMENT

ARE with tha RETURN-of this MONEY-ORDER with this CLAIMANT-SEEKING-A-REFUND: CLAIMANT.
-~For the SEE-THE-ATTACH-FORENSIC-EVIDENCE of this MATTER: CLAIM.

-~For this CLAIMANT-KNOWLEDGE with the AFFIRMATION (S with the TRUE-STATEMENTS-ABOVE
with the ALL-RIGHTS-RESERVE-without the PREJUDICE: CLAIM: CLAIMANT, AUJTHOR(sic).

-~:DATE: AUGUST-~28,-~2024. .
ray Hegel 0: Diya dh Sil
:[AU}THORIZE(sic}- PRESENTAT#VE(sic} 1S: CLARSAEET AIMANT.
:ALL-RIGHTS with the RESERVE-WITHOUT-PRESUDICE of this
DOCUMENT ARE: FULL-FORCE-AND-EFFECT with this CLAIM
by this CLAIMANT.

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Case 24- 12420- CMG Doc59 Filed 08/29/24 Entered 08/30/24 12:46:15 Desc Main

Document Page 2of4

UNITED STATES BANKRUPTCY COURT

“ts District of New Jersey
OQ P.O. Box 2067
Camden, N) 08102
Q) P.O. Box 1352
Newark, Nj 07101-1352
we tH coz east state street
Trenton, NJ 08608
TO: :‘Dorkas-Iris:Delgado-Schafer
FROM Clerk's Office
RE: Angel David Delgado 24-12420-CMG mu
DATE 5/20/24 8 or
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$307.00 _‘_. It ls being returned for the following reasons): nt ru
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Cashier's Check or attorney trust account check.
C} Your check is not sigried. Please sign and return to the court.
We .
The check/money order must be made payable to: Clerk, US Bankrup
QJ The case is dismissed or closed.
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-C.8.5,.-C.-P-.5-.G. -FLAG IS :CLAIM :By: Claimant. + POSTAL-COURT-OF-THE-ONE-
IS :CLAIM :By :CLAIMANT, VENUE-CORRECT- PARSE-GRANMAR :

iBy :CLAIN :CLAIMAINT,

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